Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 1 of 45

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

FREEDOM OF THE PRESS FOUNDATION and
KNIGHT FIRST AMENDMENT INSTITUTE AT
COLUMBIA UNIVERSITY, 17-cv-9343 (JGK)

Plaintifis, OPINION AND ORDER

 

- against -

DEPARTMENT OF JUSTICE, NATIONAL
SECURITY AGENCY, CENTRAL
INTELLIGENCE AGENCY, and OFFICE OF
THE DIRECTOR OF NATIONAL
INTELLIGENCE,

Defendants.

 

JOHN G. KOELTL, District Judge:

The plaintiffs, Freedom of the Press Foundation and the
Knight First Amendment Institute at Columbia University, brought
this action under the Freedom of Information Act (“FOTA”), 5
U.S.C, § 552, seeking documents from certain components of the
Department of Justice (“DOU”), including the Criminal Division
(“DOJ-CRIM”) and the Federal Bureau of Investigation (“FBI”), as
well as the National Security Agency (“NSA”), the Central
Intelligence Agency (“CIA%), and the Office of the Director of
National Intelligence (“ODNI”). After the production of
substantial documents, the plaintiffs challenge only the
withholding of information on certain records by the DOJ-CRIM
and the FBI pursuant to FOTA Exemptions 1, 3, 5, and 7(E), the

sufficiency of the search conducted by the FBI for a category of

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 2 of 45

requested records, and the adequacy of the FBI efforts to
segregate nonexempt portions of certain records from
exempt portions.

The parties have cross-moved for summary Judgment. For the
reasons explained below, the plaintiffs are entitled to summary
judgment with respect to two portions of records improperly
withheld by DOJ-CRIM under Exemption 5, but not with respect to
their remaining claims.! As such, both parties’ motions for
summary judgment are granted in part and denied in part.?

Ir.

The following facts are undisputed unless otherwise noted.
This case arises out of identical FOIA requests filed by the
plaintiffs with each of the defendants, seeking records relating
to restrictions imposed by statute, regulation, or the
Constitution on government surveillance targeting members of the
news media, or otherwise implicating the freedoms of speech,
association, or press. Compl. @ 1. The DOJ has publicly adopted
a policy document regarding constraints on the use of law
enforcement and investigative authorities in relation to members
of the news media, in its “Media Guidelines,” codified in 28

C.F.R. § 50.10. The plaintiffs allege that their request is

 

1 The plaintiffs do not challenge the search, review, or preduction of
records by the CIA, NSA, or ODNI, and have not opposed the government’s
motion for summary judgment with respect to these defendant agencies.

2 Concurrent with this Opinion and Order, the Court also issues an opinion ex
parte and under seal that discusses am ex parte submission by the defendants.

2

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 3 of 45

motivated by certain undefined terms (including “member of the
news media”) in Section 50.10 and a lack of clarity regarding
certain investigative tools, such as National Security Letters
(“NSLs”), to which Section 50.10 may not apply. Compl. WI9 2-3.
NSLs, issued pursuant to 18 U.S.C. § 2709, permit the Director
of the FBI, or certain designees, to compel third-party service
providers to disclose certain information about their customers.
Id. @ 3.

The Freedom of the Press Foundation is a non-profit
organization based in California that “advocate[s] for
government transparency and accountability by preserving the
rights guaranteed to the press under the First Amendment and
fortifying the public’s right to know.” Id. 9 12. The Knight
First Amendment Institute is a New York not-for-profit
organization, based at Columbia University, that “works to
preserve and expand the freedoms to speech and the press.”

Id. 7 13.

The plaintiffs submitted their initial requests to the
agencies on October 10, 2017. Id. 4 18, Ex. A. On November 29,
2017, the plaintiffs commenced the present action. Following
negotiations between the parties, the plaintiffs agreed to
narrow the scope of their request, and this Court approved a
Final Processing List. Stipulation and Order Regarding Document

Searches and Processing, Ex. A., ECF No. 26. The Final

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 4 of 45

Processing List clarified and defined certain terms, including
specifying that the term “Documents” was defined to encompass
only formal versions of the records at issue. Of particular
relevance to the present motion is Category i(e) of the Final
Processing List, which requested all records pertaining to “all
requests or statistical information concerning requests for
approvals to issue NSLs for the acquisition of records or
information of or about members of the new media, submitted to”
certain officials within the DOJ or the FBI, or pursuant to
section G.12 of Appendix G of the current FBI Domestic
Investigations and Operations Guide (“DIOG”). Id. (This request
was subsequently narrowed, because the plaintiffs have stated
they no longer seek any statistical data relating to NSLs. Pl’s.
Br. 17 & n.9.)}

On July 24, 2018, this Court approved a schedule for the
defendants te complete processing and production of nonexempt
responsive records. ECF No. 28. DOJ-CRIM released 65 pages in
full and 4 pages in part, over 5 interim productions on October
1, October 31, November 30, and December 21, 2018, and February
22, 2019. Declaration of Gail Brodfuehrer, ECF No. 48
(“Brodfuehrer Deci.”) (91 9-10. The FBI released 506 pages in
full or in part over three interim productions on August 31,
September 28, and October 31, 2018. Declaration of Michael

Seidel, ECF No. 47 (“Seidel Decl.”) FI 9-11. The FBI stated that

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 5 of 45

it “did not identify any records responsive to” Category l1(e).
Seidel Decl., Ex. G. On November 6, 2019, the plaintiffs
provided the defendants with a list of withholdings and issues
they intended to challenge, Declaration of Stephen Cha-Kim, ECF
No. 45 (“Cha-Kim Decl.”}, Ex. A, and the DOJ-CRIM subsequently
released an additional two pages of records. Brodfuehrer

Decl. @ 14.

On January 22, 2020, the plaintiffs provided a final list
of withholdings that they seek to challenge, specifically
information withheld on 2 pages of DOJ-CRIM records under
Exemption 5 and 40 pages of FBI records under Exemption 1, 3,
and 7. The plaintiffs also challenge the adequacy of the FBI’s
search with respect to records responsive to Category l(e) of
the Final Processing List, and allege that the FBI faiied to
segregate and produce properly responsive information.

Ir.

The standard for granting summary judgment is well
established. “The Court shall grant summary judgment if the
movant shows that there is no genuine dispute as to any material
fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. S6(a); see also Celotex Corp. v. Catrett, 477

 

U.S. 317, 322-23 (1986); Gallo v. Prudential Residential Servs.,

 

 

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 6 of 45

Ltd. P'ship, 22 F.3d 1219, 1223 (2d Cir. 1994).% The moving party
bears the initial burden of “informing the district court of the
basis for its motion” and identifying the matter that “it
believes demonstrate[s] the absence of a genuine issue of
material fact.” Celotex, 477 U.S. at 323. In determining whether
summary judgment is appropriate, a court must resolve all
ambiguities and draw all reasonable inferences against the

moving party. See Matsushita Elec. Indus. Co. v. Zenith Radio

 

Corp., 475 U.S. 574, 587 (1986). Where there are cross-motions
for summary judgment, the Court must assess each of the motions
and determine whether either party is entitled to judgment as a

matter of law. See Admiral Indem. Co. v. Travelers Cas. & Sur.

 

Co. of Am., 881 F. Supp. 2d 570, 574 (S.D.N.¥, 2012).

Courts frequently decide challenges to an agency’s
compliance with its FOIA obligations on a motion for summary
judgment, and the factual basis for withholding records pursuant
to FOIA Exemptions may be supported by declarations by agency

personnel. See Carney v. Dep’t of Justice, 19 F.3d 807, 812 {2d

 

Cir. 1994). “Affidavits or declarations . . . giving reasonably
detailed explanations why any withheld documents fall within an
exemption are sufficient to sustain the agency’s burden.” fd.

“TA]n agency’s justification for invoking a FOIA exemption is

 

3 Unless otherwise noted, all alterations, citations, footnotes, and internal
quotation marks are omitted in quoted text.

6

 

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 7 of 45

sufficient if it appears logical or plausible.” Wilner v. Nat'l
Sec. Agency, 592 F.3d 60, 73 (2d Cir. 2009). Thus, “[s]ummary
judgment is proper in a FOIA case where affidavits give
‘reasonably detailed explanations why any withheld documents
fall within an exemption,’ and show that the withheld
information logically falls within the claimed exemption.’”

Conti v. Dep’t of Homeland Sec., No. 12-cv-5827, 2014 WL

 

1274517, *13 (S.D.N.¥. Mar. 24, 2014) (quoting Carney, 19 F.3d
at 812 and Halpern v. FBI, 181 F.3d 279, 291 (2d Cir. 1999)).
II I.

The cross-motions for summary judgment concern the
Government’s compliance with its FOIA obligations. “A federal
agency responding to a FOIA request must (1) conduct an adequate
search using reasonable efforts, (2) provide the information
requested, unless it falls within a FOIA Exemption, and (3)
provide any information that can be reasonably segregated from

the exempt information.” Gonzalez v. U.S. Citizenship & Immigr.

 

Servs., No. 19-CV-2911, 2020 WL 4343872, at *6 (S.D.N.¥. July
29, 2020). Although FOIA “adopts as its most basic premise a
policy strongly favoring public disclosure of information in the
possession of federal agencies,” Halpern, 181 F.3d at 286,
“important interests [are] served by [FOTIA's] exemptions.” Food

Mktg. Inst. v. Argus Leader Media, 139 S.Ct, 2356, 2366, (2019)

 

(quoting FBI v. Abramson, 456 U.S. 615, 630-31 (1982)}. Under

 

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 8 of 45

FOIA, an agency must disclose responsive agency records, unless
information within such records may be “withheld pursuant to one
of the nine enumerated [e]xemptions” found within Section

552 (b). NRDC v. EPA, 954 F.3d 150, 159 (2d Cir. 2020) (quoting

Dep’t of Justice v. Tax Analysts, 492 U.S. 136, 150-51, (19893)).

 

At issue in this case are four different exemptions: Exemptions
1, 3, 5, and 7(E). 5 U.S.C. § 552{(b} (1), (3), (5), and 7(B).
The agency asserting a FOIA exemption, pursuant to Section
552(b), bears the burden of proof, and “ali doubts as to the
applicability of the exemption must be resolved in favor of
disclosure.” Wilner, 592 F.3d at 69; accord Carney, 19 F.3d at
812. Agencies often have provided reviewing courts with
declarations by agency personnel, describing the factual basis

for the agency’s withholdings. See Vaugn v. Rosen, 484 F.2d 820,

 

826-27 (D.C. Cir. 1973). Such affidavits “are accorded a
presumption of good faith,” and are “sufficient to sustain the
agency's burden,” provided they include “reasonably detailed

explanations.” Carney, 19 F.3d at 812.4

 

4 Further, as amended in 2016, FOTA requires that “[a]n agency shall—(i}
withhold information under this section only if-(I) the agency reasonably
foresees that disciosure would harm an interest protected by an exemption
described in subsection {b).”% 5 U.S.C. § 552(a) (8) (A) (1). “An agency may not
‘perfunctorily state that disclosure of all the withheld information—
regardiess of category or substance-would jeopardize the free exchange of
information’ among or between government officials.” NRDC v. EPA, No. 17-CV-
5928, 2019 WL 3338266, at *1 (S.,D.N.¥. July 25, 2019).

3

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 9 of 45

At issue on the cross-motions for summary judgment is 1)
whether DOJ-Crim properly withheld one PowerPoint slide and a
portion of a blank copy of an official form under FOIA Exemption
5; 2) whether the FBI conducted an adequate search for records
responsive to Category i(e) of the plaintiff’s Final Processing
List; 3) whether the FBI properly withheld certain documents
under FOIA Exemptions 1, 3, and 7{E); and 4) whether the
redacted passages on 40 pages of records, withheld by the FBI,
were properly redacted because no non-exempt information was
reasonably segregable from exempt information.

A.

The government has failed to sustain its burden for
demonstrating that DOJ-CRIM properly withheld portions of a
PowerPoint slide and an official form, pursuant to FOIA
Exemption 5. As such, the plaintiffs are entitled to summary
judgment, requiring production of the records.

FOIA Exemption 5 protects “inter-agency or intra-agency
memorandums or letters which would not be available by law to a
party other than an agency in litigation with the agency.” 5
U.S.C. § 552fb}) (5). Courts have understood Exemption 5 to
“encompass traditional common-law privileges against disclosure,
including the work-product doctrine, and executive, deliberative

process and attorney-client privileges.” Nat’1 Council of La

 

Raza v. Dep't of Justice, 411 F.3d 350, 356 (2d Cir. 2005). At

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 10 of 45

issue here is whether the DOJ-CRIM correctly determined that the
“deliberative process privilege” applied to two portions of
responsive records: (1) a training slide and (2) instructions on
an official form.

The deliberative process privilege seeks to “protect[] open
and frank discussion” among agency decisionmakers, based “on the
obvious realization that officiais will not communicate candidly
among themselves if each remark is a potential item of discovery

and front page news.” Dep’t of Interior v. Klamath Water Users

 

Protective Ass'n, 532 U.S. 1, 8-9 (2001). An intra-agency
document may properly be withheld pursuant to the deliberative
process privilege if it is: “(i) predecisional, i.e., prepared
in order to assist an agency decisionmaker in arriving at his
decision, and (2) deliberative, i.e., actually . . . related to
the process by which policies are formulated.” ACLU v. Nat'l
Sec. Agency, 925 F.3d 576, 592 (2d Cir. 2019) (quoting Nat'l

Council of La Raza, 411 F.3d at 356). “A document is

 

predecisional when it is prepared in order to assist an agency

decisionmaker in arriving at his decision.” Grand Cent. P'ship

 

v. Cuomo, 166 F.3d 473, 482 (2d Cir. 1999). “Protected by this
privilege are recommendations, draft documents, proposals,

suggestions, and other subjective documents which reflect the
personal opinions of the writer rather than the policy of the

agency.” Tigue v. Dep’t of Justice, 312 F.3d 70, 80 (2d Cir.

 

10

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 11 of 45

2002). However, “Exemption 5, properly construed, calls for
disclosure of all opinions and interpretations which embody the
agency's effective law and policy,” lest the exemption be
allowed to “eviscerate FOIA’s purpose of avoiding ‘secret law.’”

N.Y. Times Co. v. Dep’t of Justice, 939 F.3d 479, 490 (2d Cir.

 

2019) (quoting NLRB v. Sears, Roebuck & Co., 421 U.S, 132,

 

138, 153 (1975)).

The plaintiffs challenge the DOJ-CRIM’s withholding of two
portions of responsive records pursuant to Exemption 5: (1) a
full slide from a February 2018 PowerPoint presentation, titled
“News Media Policy” and (2) a portion of an official form,
titled “News Media Policy Consultation,” that appears to provide
instructions to agency staff members on the necessary
information required for a consultation with the Policy and
Statutory Enforcement Unit regarding investigations involving
members of the news media. The government has failed to
demonstrate that the withholding of the slide from the February
2018 PowerPoint presentation or portions of the News Media
Policy Consultation instructions were appropriate under
Exemption 5.

Through declarations, DOJ-CRIM has asserted that the
PowerPoint slide contains “hypothetical scenarios requiring
authorization pursuant to Section 50.10, and information

relating to authorization decisions.” Brodfuehrer Decl. 7 16.

11

 

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 12 of 45

By the DOJ-CRIM’s own description, the PowerPoint presentation
contains “internal guidelines,” intended to instruct staff
members on their obligations pursuant to Section 50.10 for
certain investigations and prosecutions that involve gathering
information from, or records of, or questioning, arresting, and
charging “members of the news media.” Brodfuehrer Decl. @ 15.
Similarly, on the third slide of the unredacted, released News
Media Policy PowerPoint slides, staff members were instructed
that “[f]ailure to comply with [Section 50.10] may constitute
grounds for reprimand or other discipline.” Declaration of Leena
Charlton, ECF. No. 52 (“Charlton Decl.”), Ex. 1. Section 50.10
is a public document, that makes explicit reference to the need
for DOJ staff members to consult DOJ-CRIM under certain
circumstances. DOJ-CRIM does not contest that the slides are
final versions, nor that the slides were disseminated to DOJ
staff members to instruct them on how to comply with their
obligations under Section 50.10. Nevertheless, the government
has argued that the slide at issue represents the “personal
opinions” of the slide’s author, and that the slide reveal
“interim steps” of the agency’s decision-making process.

Both arguments seek to stretch this Exemption too far.
While its earlier drafts may have merely reflected the personal
opinions of the slide’s author, the final version cannot

reasonably be so limited. It was communicated to staff members

12

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 13 of 45

with a warning that failure to follow its guidance could result
in reprimand; as such, it cannot be construed as the subjective
views of only an individual staff member.

Further, although the guidance in the slides may assist
with future decision-making applying the policy to specific
scenarios, the policy itself and management’s expectations
concerning its application have already been determined. Put
simply, the training slide deck at issue “is not a step in
making a decision; it is a way to disseminate a decision already

made.” Am. Immigr. Council v. Dep’t of Homeland Sec., 905 F.

 

Supp. 2d 206, 218 (D.D.C. 2012) (finding that PowerPoint slides
prepared to train agency employees did not merit Exemption 5
because the slides were “prepared . . . to convey routine agency
policies.”). The fact that hypothelticals or stylized examples are
used to instruct staff members about a policy does not transform
such materials into a deliberative work product. Coastal States

Gas Corp. v. Dep't of Energy, 617 F.2d 854, 868 (D.C. Cir. 1980)

 

(finding certain memoranda could not be withheld under Exemption
5, because they merely “discuss[ed] established policies and
decisions fpursuant to] the agency regulations in the light of a
specific, and often hypothetical, fact pattern”).

Thus, the explanations and instructions provided by agency
officials to staff members, with the apparent authority of

senior management, regarding the implementation of the News

13

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 14 of 45

Media policy, cannot reasonably be understood to be either the
personal views of an individual trainer, or interim steps for a

decision not yet made. See Gen. Elec. Co. v. Johnson, No. 00-cv-

 

2855, 2006 WL 2616187, at *6 (D.D.C. Sept. 12, 2006) (noting
relevant considerations for Exemption 5). Instead, these slides—
including the portion of the withheld hypotheticals slide—are

the “effective law and policy” of the agency. N.Y. Times Co. v.

 

Dep't of Justice, 939 F.3d at 490; Brennan Ctr. for Justice at

 

N.Y. Univ. Sch. of Law v. Dep’t of Justice, 697 F.3d 184, 195

 

(2d Cir. 2012) (“[T]he document claimed to be exempt will be
found outside Exemption 5 if it closely resembles that which
FOIA affirmatively requires to be disclosed: ‘final opinions

made in the adjudication of cases,’ ‘statements of policy and
interpretations which have been adopted by the agency and are
not published in the Federal Register,’ and ‘administrative
staff manuais and instructions to staff that affect a member of
the public.’”) (quoting 5 U.S.C. § 552(a) (2) (A)-(C)).

Similarly, the News Media Policy Consultation form, of
which the DOJ-CRIM has withheld a portion, is an “online form”
to be “completed by DOJ attorneys consulting with the [DOJ-CRIM]
pursuant to 28 C.F.R. § 50.10.” Brodfuehrer Decl. 9 17.

Section 50.10 makes clear that in at least two sets of
circumstances, consultation with the DOJ-CRIM is a mandatory

requirement for Department staff members. See 28 C.F.R.

14

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 15 of 45

§ 50.10(c) (3) (iii) (B), (c){6). In its released, redacted form,
the News Media Policy Consultation form instructs DOJ staff
members to attach a “detailed memorandum” containing “facts of
the investigation or prosecution,” the staff member’s “proposed
course of action,” and, if the consultation is related to
“whether an individual or entity is a member of the news media,”
staff members are instructed to “provide relevant facts and
analyze” certain factors. Charlton Decl., Ex. 2. However, the
DOJ-CRIM has redacted the factors, for which DOJ staff members
must “provide relevant facts.” Id.

As with the withheld DOJ-CRIM slide, the government does
not claim that the requested form is not a final version, that
the form is only a proposal that was never put to use, or that
the form was somehow not properly approved by senior management.°
Nevertheless, the government has asserted that the redacted
portion of the form, “falls into the category of
‘recommendations, draft documents, proposals, suggestions, and
other subjective documents which reflect the personal opinions
of the writer rather than the policy of the agency.’” Def.’s Br.
at 17, ECF. No. 46. This assertion may be true for memoranda

attached by attorneys with completed forms, or other records

 

5 The agency declaration calls the form a “template form” which DOJ attorneys
must complete. Brodfuehrer Decl. @ 17. The Final Processing List made clear
that the plaintiffs were only seeking final versions of documents. Ex. A. to
Stipulation and Order Regarding Document Searches and Processing, ECF No. 26
{defining “Documents” as only including “formal” version).

15

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 16 of 45

produced during the consultation, that might analyze the stated

required factors. See, e.g., Isiwele v. Dep’t of Health & Human

 

Servs., 85 F. Supp. 3d 337, 357-58 (D.D.C. 2015) (affirming
agencies’ decision to redact the “handwritten notes” of an
agency adjudicator from an immigration worksheet, because such
notes were predecisional and “reveal the adjudicators’
impressions and recommendations to a supervisor regarding agency
action”). But, the DOJ-CRIM’s assertion of the deliberative
process privilege with respect to the form itself stretches the
exemption too far. The final, operative version of the News
Media Consultation form cannot reasonably be considered as “the
personal opinion[] of the writer”; it is a standardized form
document including instructions with which DOJ staff members are
expected to comply, in at least a certain set of circumstances.
While the way in which the information submitted by Department
staff members as part of Media Policy Consultations is weighed,
analyzed, and assessed might be protected under Exemption 5, the
information that the agency has already decided staff members
must submit, as part of the consultation process, is not. Cf.

Cause of Action Inst. v. Dep’t of Justice, 330 F. Supp. 3d 336,

 

354 (D.D.Cc. 2018) (“Extending the privilege to encompass every
communication that relates in some way to an agency's
predecisional correspondence would fly in the face of the

general directive that the Act's exemptions be narrowly

16

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 17 of 45

construed.”). The instructions represent a decision, based on
legal interpretations and policy, regarding the scope of
relevant information that is necessary for the consultation
process. As such, like the redacted PowerPoint slide, these
instructions are the very type of “effective law and policy”
which courts have long understood to fall outside of Exemption

5. Brennan Ctr. v. Dep’t of Justice, 697 F.3d at 195; 5 U.S.¢c.

 

§ 552 (a) (2) (C) (agencies shall make available “instructions to
staff that affect a member of the public”).

The agency has asserted that release of the withheld
portions of the News Media Slide or the News Media Policy
Consultation form would “create a foreseeable harm” because it
would “result in public confusion or erroneous information about
interim steps in the Section 50.10 authorization process.”
Brodfuehrer Decl. % 21. But, the release of this information
will only reveal what factors the DOJ-CRIM, as a matter of its
existing policy, has already instructed its staff members are
relevant to the decision of whether an individual is a member of

the news media. Cf. Sears, Roebuck & Co., 421 U.S. at 151

 

(noting that “it is difficult to see how the quality of a
decision will be affected by communications with respect to the
decision occurring after the decision is finally reached”). As
such, this information will alleviate public confusion regarding

the Section 50.10 consultation process itself, especially

17

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 18 of 45

regarding the scope of relevant considerations for understanding
the term, “member of the news media.”

The government has similarly argued that disclosure of this
form and training slide might “chill” frank, internal
policymaker discussions. But, while disclosure of the memoranda
produced based upon the instructions in individual cases might
chill staff members’ candor, the disclosure of the instructions
themselves is unlikely to have any negative impact on the
potential for open, frank discussions. Nor could a single slide
of hypotheticals reveal such significant insight into how DOoJ-
CRIM officials would decide future, specific, concrete cases as
to have a chilling effect on future discussions. As such, the
government has failed to demonstrate persuasively how a few
bullet points suggesting the application of the News Media
Policy to a small number of stylized, hypothetical examples
would affect candor.

Because the DOJ-CRIM chose to assert only Exemption 5, and
failed to sustain its burden that withholding the information on
the records at issue was appropriate on that basis, the
plaintiffs are entitled to summary judgment that the withheld
portions of the records should be produced.

B.
The Government has demonstrated that the FBI’s search in

response to the plaintiff's FOIA request was adequate and

18

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 19 of 45

that the FBI used reasonable efforts to respond completely to
the plaintiffs’ requests.®

The adequacy of an agency’s search is “measured by the
reasonableness of the effort in light of the specific request.”

Whitaker v. Dep’t of Commerce, 970 F.3d 200, 206 (2d Cir. 2020).

 

To respond “adequately,” an agency must show that “it made a
good faith effort to conduct a search for the requested records,
using methods which can be reasonably expected to produce the
information requested.” Id. at 206-07 (quoting Oglesby v. Dep’ t
of the Army, 920 F.2d 57, 68 (D.C. Cir. 1990)); see also Grand
Cent. P'ship, 166 F.3d at 489 (holding that FOIA requires an
agency to “demonstrate that the search was reasonably calculated
to discover the requested documents, not whether it actualiy
uncovered every document extant”). “This standard does not
demand perfection, and thus failure to return all responsive
documents is not necessarily inconsistent with reasonableness.”
Adamowicz v. IRS, 552 F. Supp. 2d 355, 361 (S.D.N.¥. 2008);

Amnesty Int'l USA v. CIA, No. 07-CV-5435, 2008 WL 25419908, at

 

*11 (S.D.N.Y. dune 19, 2008) (“FOTA does not demand a search that
would be futile”). The reasonableness of a search may be
“established solely on the basis of the Government's relatively

detailed, non-conclusory affidavits that are submitted in good

 

6 The plaintiffs only challenge the adequacy of the FBI’s search for records
responsive to Category l(e) of the Final Processing List. Pl.’s Br. at 4.

19

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 20 of 45

faith.” Adamowicz, 552 F. Supp. 2d at 361. A declaration in
support of the reasonableness of a search should explain “the
type of search performed, and aver{] that all files likely to
contain responsive materials . . . were searched.” I[turralde v.

Comptrolier of Currency, 315 F.3d 311, 313-14 (D.C. Cir. 2003).

 

However, such declaration “need not ‘set forth with meticulous
documentation the details of an epic search.’” Gonzalez, 2020 WL
4343872, at *7 (quoting Perry v. Block, 684 F.2d 121, 127 (D.C.
Cir. 1982) (per curiam)).

In this case, the FBI’s declarations from Michael Seidel
and David Hardy demonstrate that the FBI undertook a search
“reasonably expected to produce the information requested.”
Whitaker, 970 F.3d at 207. Michael Seidel is the Assistant
Section Chief of the Record/Information Dissemination Section
(“RIDS”), Information Management Division (“IMD”) of the FBI,
since June 2016, and before that date, he was the Unit Chief of
the RIDS Litigation Support Unit since November 2012. Seidel
Decl. € 1. David Hardy is the Section Chief of RIDS, IMD, since
August 2002. Declaration of David Hardy, ECF No. 54 (“Hardy
Decl.”) J 1. The Seidel Declaration provided a detailed
description of the FBI's Central Record System, and explained
why a Central Records System index search was unlikely to
provide records responsive to the plaintiff's request. Seidel

Decl. T@ 13-17. Similarly, through his initial and supplemental

20

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 21 of 45

declarations, Seidel explained that because “the FBI does not
track the specific category of NSL requests sought by the
plaintiffs,” Seidel Decl. 7 19, the FBI reasonably chose to
question an NSL subject matter expert in the FBI's Office of the
General Counsel, National Security Cyber Law Branch (“NSCLB”),
who was “the agency’s designated point-of-contact regarding
(NSL] matters.” Seidel Supplemental Declaration, ECF No. 65
(“Seidel Supp. Decl.”}) @@ 2; see also Seidel Decl. 7 19; Hardy
Decl. 7 4. The subject matter expert was “unable to identify any
responsive records.” Seidel Decl. 7 19. Next, based on a “review
of the search stipulation and [F]inal [P]rocessing [L]ist, the
[subject matter expert] was able to identify the small, limited
number of individuals within the agency who would know of the
existence of responsive requests for NSLs.” Seidel Supp. Decl.
qq 2. Such potential custodians were “line-level employees
specifically responsible for NSLs,” and “would have access to
any responsive requests for NSLs, should they exist.” Id. These
potential custodians were queried and were likewise “not aware
of the existence” any responsive records. Id.; see also Seidel
Decl. 9 19; Hardy Decl. fl 4.

Seidel also noted that the NSCLB office, as the
“gatekeepers” for any reporting data concerning the use of NSLs,
was identified as the “FBI office most likely to possess

responsive materials.” Seidel Decl. {@ 20. The NSCLB “could

21

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 22 of 45

locate no records responsive to the request.” Seidel Decl.

{ 21. Seidel has represented to the Court in a supplemental
declaration, that “if records responsive to [the plaintiffs’ ]
request existed, their existence would have been known to the
subject matter expert and/or the individual custodians
consulted, and those custodians also conducted searches of their
records based on their work history to confirm that no
responsive records exist.” Seidel Supp. Decl. 1 4. Further, the
agency’s declaration submitted by Hardy, specifically asserted
that “[a]ll potential custodians of records were queried and no
responsive records were found to exist.” Hardy Decl. 7 4.

The plaintiffs offer several arguments about the inadequacy
of the search. Each is without merit. Primarily, the plaintiffs
offered several conclusory assertions that such records
responsive to Category l(e) must exist, although their
assertions do not undermine the sufficiency of the FBI’s search
or suggest bad faith from the agency declarants. The plaintiffs
suggest that the search was inadequate because the FBI’s
declarations do not include the names of the specific custodians
that were searched and because the declarations from the FBI
officials regarding the search lack sufficient detail or are
“conclusory.” Second, the plaintiffs assert that if the FBI
relied upon Section 552(c) to exclude responsive records, such

an exclusion was inappropriate because the FBI failed to supply

22.

 

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 23 of 45

a “public affidavit supporting this determination.” Pl.’s Br. at
20-24, ECF. No. 58.

First, “[m]ere speculation that as yet uncovered documents
may exist” is not enough to undermine the sufficiency of the

FBI's search, SafeCard Servs., Inc. v. SEC, 926 F.2d 1197, 1201

 

(D.C. Cir. 1991), particularly for a narrow category of

documents. See, e.g., Flores v. Dep’t of Justice, 391 F. Supp.

 

3d 353, 362 (S.D.N.¥. 2019) (rejecting plaintiff’s argument that
“because the defendant did not produce records related to three
particular speeches he alleges were given by U.S. Attorney
Bharara, the defendant's search was not adequate”); Nat'i Inst.

of Military Justice v. Dep’t of Def., 404 F. Supp. 2d 325, 349

 

(D.D.C. 2005) (rejecting a challenge to the adequacy of a search
based on nonproduction of documents referenced in produced
documents where, as here, it was “clear that the defendant's
search was reasonably designed to discover all responsive
documents”), aff'd, 512 F.3d 677 (D.C. Cir. 2008).

Further, the plaintiffs have offered no authority which
requires agencies to name each custodian searched, and the FBI
provided a declaration with sufficiently detailed descriptions
about how it approached the search and identified which staff
members might have access to responsive records. Seidel Dec, ql

19; Hardy Decl. 7 4. See Brennan Ctr. For Justice at N.Y. Univ.

 

Sch. Of Law v. Dep’t of Homeland Sec., 331 F. Supp. 3d 74, 85-86

 

23

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 24 of 45

(S.D.N.Y. 2018) (affirming the adequacy of a search based on the
FBI's descriptions about the chosen manner for conducting the
search, the nature of the records, and the design of the FBI's
internal databases and recordkeeping systems). The decision to
provide declarations from the agency officials responsible for
overseeing the agency’s FOIA search process was similarly
reasonable and appropriate. See, e.g., Cunningham v. Dep’t of
Justice, 40 F. Supp. 3d 71, 84 (D.D.C. 2014) (“An affiant who is
in charge of coordinating an agency's document search efforts is
the most appropriate person to provide a comprehensive affidavit
in FOIA litigation.”), aff'd, No. 14-5112, 2014 WL 5838164 (D.C.
Cir. Oct. 21, 2014); Kay v. FCC, 976 F. Supp. 23, 34 n.29
(D.Db.C. 1997) (“Generally, declarations accounting for searches
of documents that contain hearsay are acceptable.”), aff'd, 172
F.3d 919 (D.C. Cir. 1998).

The plaintiffs argue that, even after Seidel’s supplemental
declaration, it is unclear whether former employees’ records
were searched, and, if such records were not searched, the
plaintiffs assert, the search was inadequate. Pl.’s Reply to
Seidel Supp. Decl., ECF 66, at 2-3 (relying on certain language
within Nat'l Day Laborer Org. Network v. U.S. Immigr. & Customs
Enf't Agency, 877 F. Supp. 2d 87, 101-102, 112 (S5.D.N.¥Y. 2012)).
First, the plaintiffs sought documents dating back to 2013, but

both Seidel and Hardy have been in their positions for longer

24

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 25 of 45

than that and would have had knowledge of the appropriate
persons with knowledge of the relevant files. The plaintiffs
offer no reason to question the good faith assertions in the

declarations by Seidel and Hardy.’ See Nolen v. Dep’t of

 

Justice, 146 F. Supp. 3d 89, 97 (D.D.C. 2015) (“TA] search is
generally adequate where the agency has sufficiently explained
its search process and why the specified record systems are not
reasonably likely to contain responsive records.”); Nat'l Day

Laborer Org. Network, 877 F. Supp. 2d at 101 (“Because the

 

agencies are more familiar with their work than the plaintiffs
or the Court, they are entitled to some degree of deference
regarding their determination of search locations.”). The steps
taken by the FBI were “reasonably expected to produce the
[records] requested,” if such responsive records were within the
agency’s possession. Whitaker, 970 F.3d at 207.

The plaintiffs have offered no evidence of bad faith, and

the Court therefore accepts that these searches were performed

 

7 The plaintiffs’ reliance on Nat’] Day Laborer Org. Network, a case involving
“the Largest FOTA search in the history of ICE and an enormous search for DHS
and the FBI as well,” seeking board categories of records, resulting an
searches that involved “hundreds of employees and thousands of hours,” 877

F. Supp. 2d at 94, 111, is misplaced. In the portion of the opinion toa

which the plaintiffs’ cite, the Nat'l Day Laborer Org. Network court took
issue with the FBI’s decision not to search seven former employees files of
the office from which the “vast majority of the potentially responsive
records” were collected. Id. at 101-102. But, as the Nat’l Day Laborer Org.
Network court acknowledged, its opinion was “intensely fact-specific because
it involve[d] such a massive search,” and some agency searches at issue

there were “woefully inadequate.” Id. at 95. The scope of the search for
potentially responsive records at issue here is both much narrower and

more specific, and there is no evidence that any search was

“woefully inadequate.”

 

 

 

 

29

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 26 of 45

as described in the declarations and that the FBI’s NSL subject
matter expert accurately assessed the likely custodians for
potentially responsive records. See Whitaker, 970 F.3d at 206
(affirming district court’s determination that the agency did
not violate FOIA by declining to conduct a search “based on
sworn declarations from [agency] officials explaining why the
agency would not have responsive records”); Brennan Ctr. Vv.

Dep’t of Homeland Sec., 33] F. Supp. 3d at 86 (in the absence of

 

evidence of bad faith, accepting the FBI’s searches were
performed as described in the declarations and were conducted in
good faith); Conti, 2014 WL 1274517, at *13-14 (noting that
“searches are presumed to have been performed in good faith” and
rejecting plaintiff's arguments “essentially ask[ing] the Court
to presume bad faith on behalf of the employees performing the
searches”).

Second, the plaintiffs claim that the FBI response to the
request for records responsive to Category l(e) is inadequate,
because the FBI has not explained whether it is relying on
Section 552(c) as a basis for its response. Section 552 (c)
provides a limited exclusion from FOIA for certain highly
sensitive records, including certain criminal law enforcement
records, where there is reason to believe that the subject of
the investigation or proceeding is unaware of its pendency and

disclosure could reasonably interfere with enforcement

26

 

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 27 of 45

proceedings; informant records; and, FBI records pertaining to
foreign intelligence or counterintelligence, or international
terrorist, when the existence of the records is classified. 5
U.S.C. § 552(c) (1) -(3).

The plaintiffs misconstrue what would be required of the
FBL, if it were to have relied upon Section 552(c) to exclude
records from the search. Section 552 (c) “permits agencies to
treat .. . records as ‘not subject to the requirements of the
FOTA” and as excluded, when the request relates to records
within the specific narrow statutory categories. Light v. Dep’t
of Justice, 968 F. Supp. 2d 11, 30 (D.D.C. 2013). The FBI has
provided an ex parte declaration setting forth an explanation
regarding whether the exclusion was relied upon. Nothing more
is required. Upon review of the FBI's ex parte in camera
declaration, the Court has concluded that the objections raised
by the plaintiffs with respect to any potential invocation of

Geetion 552(c) are unavailing. See Labow v. Dep’t of Justice,

 

831 F.3d 523, 533-534 (D.C. Cir. 2016); ACLU of Mich. v. FBI,
734 F.3d 460, 470-72 (6th Cir. 2013} (collecting cases); ACLU of
N.J. v. FBI, 733 F.3d 526, 535 (3d Cir. 2013); Mobley v. CIA,
924 F. Supp. 2d 24, 71-72 (D.D.C. 2013); Light, 968 F. Supp. 2d
at 30.

Therefore, the Government has carried its burden of

demonstrating that the FBI’s search for records responsive to

27

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 28 of 45

Category 1l{e) was adequate and reasonably calculated to respond
to the plaintiffs’ request.
c.

The plaintiffs challenge the FBI's withholding, in full or
in part, 40 pages of records pursuant to FOIA Exemptions 1, 3,
and 7(&). In particular, the plaintiffs challenge the
withholding of portions of PowerPoint slides relating to the
First Amendment, Media Leaks, and Social Media tools, and
portions of the FBI’s Domestic Investigations Operations Guide
(“DIOG”) and Counterintelligence Division Policy Directive and
Policy Guide (“CDPG”) under Exemption 7(E).® In addition, the
plaintiffs challenge the FBI’s withholding of two documents~one
titled “Best Practice for Media Policy” and one titled “National
Security Letters’—~pursuant to Exemptions 1, 3, and 7(E).

FOLA Exemption 1 protects from disclosure records that are
“specifically authorized under criteria established by an
Executive Order to be kept secret in the interest of national
defense or foreign policy” and “are in fact properly classified
pursuant to such Executive Order.” 5 U.S.C. § 552{(b) (1). In
recognition of the “uniquely executive purview of national

security,” Wilner, 592 F.3d at 76, the government’s burden to

 

8 The plaintiffs have declined to challenge the FBI's reliance on Exemption
7({E) to withhold “sensitive file numbers,” the names and roles related to
“{sjpecialized FBI units or squads,” or email addresses and non-public web
addresses. Seidel Decl. 9 25, 51; Pl.‘s Br. at 16 n. 3.

28

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 29 of 45

establish the appropriateness of an Exemption 1 withholding is
a “light one,” requiring only “logical” arguments for

withholding be provided. ACLU v. Dep't of Def., 628 F.3d 612,

 

624 (p.c. Cir. 2011).

FOIA Exemption 3 authorizes agencies to withhold records
“specifically exempted from disclosure by statute” if that
statute either (1) “requires that the matters to be withheld
from the public in such a manner as to leave no discretion on
the issue,” or (2) “establishes particular criteria for
withholding or refers to particular types of matters to be
withheld.” 5 U.$.C. § 522(b) (3). The FBI has withheld
information on four pages (Bates page nos. 1052-54, 1067)
pursuant to Section 102A(1) (1) of the National Security Act of
1947, as amended, which mandates that the Director of National
Intelligence “shall protect intelligence sources and methods
from unauthorized disclosure.” Seidel Decl. TH 39-42; 50 U.S.C.
§ 3024(i)(1). The Supreme Court has established a two-pronged
approach to evaluate an agency's invocation of FOIA Exemption 3,
which first requires courts to consider whether the statute
identified by the agency is a withholding statute as
contemplated by Exemption 3, and, if so, whether the withheld
material satisfies the criteria of the exemption statute. CIA v.
Sims, 471 U.S. 159, 167 (1985); Wilner, 592 F.3d 60, 72 (2d Cir.

2009). Section 102A(i)(1} has been understood by courts to be a

29

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 30 of 45

withholding statute, as contemplated by Exemption 3. See, €.g.,

N.Y. Times Co. v. CIA, 965 F.3d 109, 115 (2d Cir. 2020) (finding

 

that CIA met its burden, when invoking Exemption 3 relating to
the CIA’s obligations under Section 102A(i) (1))F Sack v. CIA, 53
F. Supp. 3d 154, 172 (D.D.C. 2014) (affirming the CIA’s
withholding of information, pursuant to Exemption 3 and Section
102A(i)(1)). As such, the only question is whether the FBI has
sustained its burden of demonstrating the information withheld
under Exemption 3 contains “intelligence sources and methods”
which the FBI was required to protect from disclosure.

Finally, FOIA Exemption 7(E) exempts from disclosure
“[r]ecords or information compiled for law enforcement purposes,
but only to the extent” that their production “would disclose
techniques and procedures for law enforcement investigations or
prosecutions, or would disclose guidelines for law enforcement
investigations or prosecutions if such disclosure could
reasonably be expected to risk circumvention of the law.” 5
U.S.C. § 552(b) (7) (BE).

In order to invoke Exemption 7(E), the Government must make
a “threshold showing ‘that the materials be records or
information compiled for iaw enforcement purposes.’” Brennan

Ctr. v. Dep’t of Homeland Sec., 331 F. Supp. 3d at 97 (quoting

 

John Doe Agency v. John Doe Corp., 493 U.S. 146, 148 (1989)).

 

“To show that particular documents gualify as ‘records or

30

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 31 of 45

information compiled for law enforcement purposes,’ an agency
must establish a rational nexus between the agency’s activity in
compiling the documents and ‘its law enforcement duties.’” Id.

(quoting Keys _v. Dep't of Justice, 830 F.2d 337, 340 (D.C. Cir.

 

1987)). Courts have understood FOIA’s use of “law enforcement”
to “entail[] more than just investigating and prosecuting
individuals after a violation of the law,” and to include
“proactive steps designed to prevent criminal activity and
maintain security.” Pub. Emp. for Envtl. Resp. v. U.S. Section,
Int'l Boundary & Water Comm'n, U.S.-Mexico, 740 F.3d 195, 203
(D.C. Cir. 2014).

The Court of Appeais for the Second Circuit has interpreted
this exemption to cover two categories of information, one in
which disclosure would disclose “techniques and procedures,” or
“how law enforcement officials go about investigating a crime,”
and the other in which disclosure would disclose “guidelines”
for law enforcement investigations, or how the agency allocates
resources in planning future policy or conduct. See Allard K.
Lowenstein Int’1 Human Rights Project _v- Dep’t of Homeland Sec.,
626 F.3d 678, 682 (2d Cir. 2010). Within this Circuit,
“[djiscussion of law enforcement techniques and procedures is
categorically exempt from FOIA disclosure, ‘without need for

demonstration of harm.’” Iragi Refugee Assistance Project v.

 

Dep’ t of Homeland Sec., No. 1l2-cv-3461, 2017 Wh 1155898, at *S5

 

31

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 32 of 45

(S.D.N.Y. Mar. 27, 2017) (quoting Allard Kk. Lowenstein, 626 F.3d

 

at 681).°9 But, even with respect to “guidelines,” agencies need
not demonstrate an “actual or certain” risk that the withheld
information if released could lead to circumvention, only a

“chance of reasonably expected risk.” Mayer Brown LIP v. IRS,

 

562 F.3d 1190, 1193 (D.C. Cir. 2009) (interpreting the ,
qualifying phrase “i€ such disclosure could reasonably be
expected to risk circumvention of the law’). “Exemption 7 (EF)
clearly protects information that would train potential
violators to evade the law or instruct them how to break the
law,” as well as “information that could increase the risks that
a law will be violated or that past violators will escape legal
consequences.” Id. Therefore, “Exemption 7(E) sets a relatively
iow bar for the agency to justify withholding . . . only
requir[ing] that the [agency] demonstrate logically how

the release of the requested information might create a risk

of circumvention of the law.” Brennan Ctr. v. Dep’t of Homeland

 

Sec., 331 F. Supp. 3d at 98-99.

 

29 Indeed, as the plaintiffs acknowledge, this Court is bound by the holding of
the Court of Appeals for the Second Circuit that the “qualifying phrase (*if
such disclosure could reasonably be expected to risk circumvention of the
law’) modifies only ‘guidelines’ and not ‘techniques or procedures.’” Allard
K. Lowenstein Int'l] Human Rights Project, 626 F.3d at 681-82; Pl.’s Br.

at 10 n.2.

 

32

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 33 of 45

1.

The FBI has met its burden of demonstrating how the
information withheld solely pursuant to Exemption 7(E) was both
sufficiently related to law enforcement techniques, processes,
or guidelines, such that the information was properly withheld.

First, the FBI withheld portions of eight PowerPoint slides
on First Amendment and Media Leaks, and the plaintiffs challenge
that decision. Charlton Decl. Exs. 3-8 (Bates page nos. 12, 34-
35, 40, 905, 909, 1033-34). The government has asserted that
such withheld portions contained information that would
“essentially reveal the FBI’s ‘playbook’ or strategies utilized
in specific circumstances and provide criminals and terrorists
with information on the FBI's capabilities and vulnerabilities”
for detecting and combating certain acts. Seidei Decl. 7 52. The
plaintiffs argue that the slides “seem to contain First
Amendment doctrine or other legal limits” and as such only
contain “broad statements of law,” improperly withheld under
Exemption 7(&). Pl.’s Br. at 10. To support this proposition,
the plaintiffs point to the titles of two slides, and cite to
Knight First Amendment Inst. at Columbia Univ. v. Dep’t Homeiand
Sec., 407 F. Supp. 3d 311, 332 (S.D.N.Y. 2019). However, the
titles of these slides do not preclude the FBI's assertion that
the slides contain information regarding more than “mere

descriptions of codified law and policy,” Knight First Amend.

 

33

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 34 of 45

Inst., 407 F. Supp. 3d at 333, and include information regarding
the capabilities, vulnerabilities, and limitations of the FBI's
techniques and procedures for detecting, investigating, and
combating crime. Seidel Decl. J 52; Charlton Decl. Exs. 3-5, 8,
and 12. Contrary to the plaintiffs’ conjectures, such
information is related to “how law enforcement officials go

about investigating a crime.” Aliard K. Lowenstein Int’ 1 Human

 

Rights, 626 F.3d at 682. The documents at issue in Knight First
Amend. Inst. were very different. In Knight First Amend. Inst.,
the court found that the State Department improperly withheld,
pursuant to Exemption 7iE), portions of three Foreign Affairs
Manuals (“Manuals”) that appeared to be based directly on the
text of a statute. The Knight First Amend. Inst., court noted
that it was “not clear that the {Manuals] [were] ‘compiled for
law enforcement purposes’” and the agency conceded that the

Manuals generally consisted of “policy.” Knight First Amend.

 

Inst., 407 F. Supp. 3d at 332-33. The context here is markedly
different. Unlike the State Department’s Manuals, the FBI's
training slides were “compiled for law enforcement purposes,”
and the FBI has submitted a reasonably detailed declaration
emphasizing that these slides discuss law enforcement techniques
and procedures. Therefore, the plaintiffs have failed to provide
sufficiently detailed, plausible evidence to rebut the

presumption of good Faith afforded to the FBI’s declaration and

34

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 35 of 45

stated explanations, with respect to the First Amendment and
Media Leak training slides.

Second, the plaintiffs also challenge the FBI’s withholding
of information from two additional training slides on social
media tools, solely pursuant to Exemption 7(&). Charlton Decl.
Fxs. 11-12 (Bates page nos. 903, 914). The Seidel Declaration
explained that those slides were withheld because they included
“the identify of, and the capabilities and limitations
(including restrictions) related to the use of certain non-
public investigative tools and the techniques by which they are
utilized (including any results),” and that such “cyber
products” are presently used by “law enforcement to query
information and develop investigative leads from a variety of
source data.” Seidel Decl. 9 53. Seidei further explained
plausibly: “Disclosure of the capabilities and/or
vulnerabilities of the data that can be collected through the
use of these tools and in specific situations, could enable
criminals to employ countermeasures to avoid detection.” Id. The
plaintiffs argue that the slides “appear to primarily refer to
social media surveillance,” which “may not be withheld because
it is ‘well known.’” Pl.’s Br. at 13.

While courts have understood that “Exemption 7(E) only
protects techniques and procedures ‘not generally known to the

public.’ Doherty v. Dep’t of Justice, 775 F.2d 49, 52 n. 4 (2d

 

35

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 36 of 45

Cir. 1985), the plaintiffs seek to stretch this Limitation too

far. See, e.g., Maguire v. Mawn, No. O2-cyv-2164, 2004 WL

 

1124673, at *3 (S.D.N.Y. May 19, 2004) (“Although the public may
know that banks often employ bait money, the public does not
know whether and how a specific bank employs bait money.”);

Barnard v. Dep't of Homeland Sec., 598 F. Supp. 2d 1, 23 (D.D.C.

 

2009) (‘All of the techniques described in the cases above~
security clearance procedures, polygraph examinations, drug
investigatory techniques—are known to the public to some
extent[, yet] [t]here is no principle of which the Court is
aware that requires an agency to release all details concerning
these and similar techniques simply because some aspects of them

are known to the public.”); Blanton v. Dep’t of Justice, 63 F.

 

Supp. 2d 35, 49-50 (D.D.C. 1999) (holding that although
information regarding polygraphs is “generally available,” the
“specific methods employed by the FBI” were not). The general
existence of social media surveillance capabilities may be “well
known,” without the specific means of such surveillance being
public knowledge. The plaintiffs have failed to overcome the
presumption of good faith afforded to the FBI’s declaration.

Third, the plaintiffs challenge the FBI’s decision to
withhold portions of two policy guides: the Domestic
Investigations Operations Guide (“DIOG”) and the

Counterintelligence Division Policy Directive and Policy Guide

36

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 37 of 45

(“CDPG”).1° The plaintiffs argue that such withheld portions
“largely describe legal or administrative prerequisites to the
FBI's use of an investigative technique,” and that the FBI’ s
explanations were too vague, seek to cover administrative
approval processes not reasonably understood to be “techniques
or procedures” within the meaning of Exemption 7(E), and
withheld “publicly known” information, including information
regarding NSIls. Pl.’s Br. at 15-16. The plaintiffs’ arguments
fail to rebut the presumption of good faith afforded to the
FBI’s declaration.

As the government persuasively notes, the DIOG and CDPG
relate specifically to the FBI’s “law enforcement and national
security ‘playbooks.’” Seidei Decl. 47 94. See Muslim Advocates

vy. Dep’t of Justice, 833 F. Supp. 2d 92, 104-05 (D.D.c. 2011)

 

(affirming withholding of material in certain chapters of the
DIOG but requiring a supplemental affidavit regarding the
withholding of an additional chapter). Further, to the extent
that withheld information may relate to administrative approval
procedures or prerequisites, the FBI’s declaration has logically
noted that such descriptions would “identify the procedures,

techniques, and strategies” employed by the agency, including

 

10 Specifically, Bates page nos. 377-78, 383-84, 387-88, 394(Chariton Decl.
Ex. 14); 395-422 (Charlton Decl. Ex. 15}, 1016-120. In their brief, the
plaintiffs declined to continue to challenge the withholding of DIOS $&
18.6.6.3.5 or 18.6.6.3.7.4 on Bates Numbers 388-89. Pl.’s Br. at 14 on. 6.

37

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 38 of 45

“sensitive unknown investigative techniques” and “uses of these
specific techniques and strategies.” Seidel Decl. ( 54. It is
reasonable to conclude that even a discussion of stages of
administrative approvals would include discussion of both the
techniques and strategies being approved, as well as their
relative strengths and vulnerabilities. The FBI represented that
certain sections of the guides contained information withheld
because it related to certain, specific, non-public intelligence
gathering techniques (e.g., Bates page nos. 1017 and 1020, pages
from the CDPF) and “specialized FBI Sections, Units, Squads”
(e.g., Bates page nos. 1016, 1018-1020, pages from CDPG) Seidel
Decl. 4% 54, 56. Revealing the existence of such intelligence-
gathering techniques or such squads, units, or roles would,
Seidel notes, provide insights regarding the capabilities and
level of focus the FBI applies to certain activities, which
might assist criminals seeking to avoid such focus. Id. In
addition, just because certain details concerning techniques or
approval standards might be publicly known or available, does
not mean that FOIA requires the FBI to release “all detaiis
concerning [such techniques] and similar techniques.” Barnard,

598 F. Supp. 2d at 23; ACLU v. Dep’t of Justice, 681 F.3d 61, 71

 

(2d Cir. 2012).14

 

41 As an example, the plaintiffs claim the redactions to DIOG § 18,6.6.3.4
(Bates page nos. 387-88, titled “Standards for Issuing NSLS”) were
inappropriate because the plaintiffs claim such standards are “publicly

38

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 39 of 45

Moreover, even if the withheld portions are better
understood as “guidelines,” rather than “techniques or
procedures,” the Seidel Declaration provides sufficient support
to demonstrate that disclosure of such information could
reasonably be expected to jeopardize ongoing FBI investigations
and operations and assist those seeking to violate or circumvent

the law. Allard K. Lowenstein, 626 F.3d at 681; Mayer Brown LLP,

 

562 F.3d at 1193. Indeed, courts frequently find that the kind
of information regarding the vulnerabilities in agency
techniques and procedures is properly withheld under Exemption
7(E), because of the potential to aid circumvention. See, e.g.,
Sack, 53 F. Supp. 3d at 174-75 (affirming CIA’s withholding of
training slides, guidance, policies, and procedures relating to

polygraph testing, because, among other reasons, such

 

available” and that a “leaked version of the 2011 DIOG confirms that much of
the information redacted from this section is publicly available through
official sources,” Pl.’s Br. at 16 n.8.

First, it would be inappropriate to rely on an outdated, leaked
document in this case. As the plaintiffs do not claim the leaked version was
“officially acknowledged,” there remains at least “lingering doubts” as to
the reliability of the information contained in the leaked version. N.Y.
Times Co. v. CIA, 965 F.3d at 117-18 (moting that “anything less than the
official disclosure .. . necessarily preserves some increment of doubt
regarding the reliability of publicly available information,” and that the
CIA's “refusal to permit the elimination of that remaining
doubt . . . protects valuable information”). C£, Nishnic v. Dep't of Justice,
671 F. Supp. 776, 793 (D.D.C.1987) (“If any public leak or disclosure were
sufficient to cbliterate the protection afforded by Exemption 7(C),
unauthorized disclosures would be encouraged and rewarded.”).

In any event, the “leaked” passages the plaintiffs have provided make
references to how FBI officials would go about investigating an individual,
including descriptions of what kinds of facts might be sufficiently
probative to warrant seeking NSLs for records regarding an individual or
their contacts. These passages would include law enforcement techniques
and procedures.

 

 

39

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 40 of 45

information could reveal vulnerabilities in the methods used};
Mayer Brown LLP, 562 F.3d at 1193 (affirming IRS’s withholding
of certain settlement guidelines pursuant to Exemption 7(E),
because such information “could encourage decisions to violate
the law or evade punishment”) .*

2.

The plaintiffs also challenge the withholding of
information on four pages of records (Bates page nos. 1052-54,
1067), within two documents (titled “Best Practices for Media
Policy” and National Security Letters”) pursuant to a
combination of Exemptions 1, 3, and 7(E).}9

With respect to the information withheld on these pages,
the FBI has provided a sufficiently detailed declaration
explaining the appropriateness of each of the Exemptions.

Regarding the application of Exemption 1, the Seidel
Declaration explained that the FBI withheld classified
information on pages 1052-53, and 1067 regarding detailed
intelligence activity information on specific individuals or

organizations of interest, properly classified at the “Secret”

 

12 The Government notes that portions of these guides were also withheld in
conjunction with FOIA Exemptions 1 and 3. Seidel Decl. I 54, such as the
pages of the PIOG App. G.12, for which the plaintiffs challenge the
withholdings. See Charlton Decl., Ex. 15. There is no basis to question the
use of such exceptions in connection with the redacted passages.

13 Specifically, the FBI withheld pages 1052-1053 and 1067 based upon
Exemptions 1, 3, and 7(E) concurrently, and 1054 on only Exemptions 3 and
J{E) concurrently. Seidel Decl. I 42.

49

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 41 of 45

level pursuant to E.O. 13,526 § 1.4(c). Seidel Decl. 35. With
respect to the withheld information on these three pages, Seidel
represented that disclosure of the information could reveal
actual intelligence activity or methods used by the FBI against
specific targets, intelligence-gathering capabilities, and
certain “criteria, triggers, limitations, requirements and
prerequisites that precede the use of the technique or method.”
Id. Further, Seidel noted that pages 1052-53 also
involved classified information relating to foreign relations
or activities of the United States, such that it was
appropriately classified as “Secret” pursuant to E.O. 13,526
§ 1.4(d). Id. 7 36.

The Seidel Declaration also asserted that pages 1052-53 and
1067 were properly withheld under Exemptions 3, because the
pages contained detailed intelligence sources and methods,
within the meaning of the Section JO2A(i) (1) of the National
Security Act. Id. Wf 41-42. For page 1054, the FBI has asserted
that although it contains unclassified information (and thus, is
not eligible for Exemption 1), such information relates to
intelligence sources and methods, and descriptions of law
enforcement techniques, such that it is was properly withheld
pursuant to Exemptions 3 and 7{BE). Id. 7 42.

Finally, the FBI also asserts that information was withheld

pursuant to Exemption 7(E) from pages 1052-53 and 1067 because

4l

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 42 of 45

the information contained details about “investigative
methodology” and “strategy for specific typeftsj of
investigations[s].” As noted above, Seidel describes how
disclosing the “FBI’s analysis, including the levels of review
required in specific investigative situations” and “anticipated
obstacles and potential hurdles to investigation” could enable
criminals to “hamper or circumvent the FBI's investigative
techniques.” Id. @ 52. Seidel further justified withholding
information from page 1054, because it contained “[sjensitive
file numbers” as well as “internal secure e-mail and intranet
web addresses.” Id. 7 25.

The plaintiffs allege that the FBI has withheld-at least in
part-“the very statutes, regulations, and guidelines” about
which the plaintiffs seek information. Pl.’s Repl. 16. But, the
plaintiffs offer no support for this allegation, beyond the
titles of the documents themselves. Further, “even if the
redacted information seems innocuous in the context of what is

fF

already known by the public,” courts in this Circuit have
understood, that “[m}Jinor details of intelligence information
may reveal more information than their apparent insignificance
suggests because, much like a piece of jigsaw puzzle, each
detail may aid in piecing together other bits of information

even when the individual piece is not of obvious importance in

itself.” ACLU v. Dep’t of Justice, 681 F.3d at 71 (quoting

 

42

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 43 of 45

Wilner, 592 F.3d at 73). In short, the descriptions in the
Seidel Declaration provide a sufficient basis to conclude that
such withholdings were proper.

D.

Finally, the FBI has demonstrated sufficiently that it made
reasonable efforts to segregate exempt information from non-
exempt information and that the result of these efforts was that
the 40 pages in question were appropriately redacted.

FOIA requires that “[a]ny reasonably segregable portion of
a record shall be provided to any person requesting such record
after deletion of the portions which are exempt under this
subsection.” 5 U.S.C. § 552{b). “Courts may rely on agency
affidavits to determine that documents withheld pursuant to a
valid exemption contain no reasonably segregable information.”

Sack v. Dep’t of Def., 823 F.3d 687, 695 (D.C. Cir. 2016)

 

(citing Armstrong v. Executive Office of the President, 97 F.3d

 

575, 578 (D.C.Cir.1996). However, the plaintiffs are not
entitled to disclosure if disclosure would produce only a “few
vor

nuggets of non-intertwined, ‘reasonably segregable

information. See Lead Indus. Ass'n, Inc. v. Occupational &

 

Health Safety Admin., 610 F.2d 70, 88 (2d Cir. 1970) (Friendly,

 

J.); see also ACLU v. Dep’t of Justice, 252 F. Supp. 3d 217,

 

227-28 ({S.D.N.Y. 2017) (collecting cases). The plaintiffs assert

that the FBI has failed to segregate properly nonexempt

43

 

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 44 of 45

information, especially public information or publicly known
policies or standards. They urge the Court to require in camera
review of the withheld documents.

While courts have discretion to require further in camera
review, pursuant to 5 U.S.C § 552(a) (4) (B), “[w]hen the agency
meets its burden by means of affidavits, in camera review is
neither necessary nor appropriate,” and is “particularly a last

i

resort in ‘national security’ situations,” such as this case.

Larson v. Dep’t of State, 565 F.3d 857, 870 (D.C. Cir. 2009).

 

The Seidel Declaration asserts that the agency undertook a
careful review, in which each page was “individually examined”,
followed by a “secondary review” to confirm that withholdings
were either “exempt itself or so intertwined with non-exempt
information that segregation of the non-exempt information was
not reasonably possible without revealing exempt information or
leaving nothing but meaningless words or sentence fragments.”
Seidel Decl. 471 57-58. A review of the redacted documents that
were produced shows the redaction process was done carefully,
and line-by-line. This is consistent with the Seidel
Declaration. Further, the FBI has released additional documents
and clarified classification errors. See, e.g., Hardy Decl. @ 5,
Ex. A; Seidel Decl. 7 26 n. 6. This “highlights the [FBI's] good
faith in carrying out the plaintiff's request and points to the

adequacy of the [FBI’s] overail search both prior to and during

44

 
Case 1:17-cv-09343-JGK Document 67 Filed 10/09/20 Page 45 of 45

this litigation.” Gonzalez, 2020 WL 4343872, at *9. As such, the
plaintiffs have not provided a basis to defeat the presumption
of good faith owed to the FBI’s declarations on the issue of

segregability. See ACLU v. Dep’t of Justice, 252 F. Supp. 3d

 

at 229,
CONCLUSION

The Court has considered all the arguments of the parties. To
the extent not specifically discussed, the arguments of the parties
are either moot or without merit. The plaintiff's motion for
summary judgment with respect to the DOJ-CRIM’s disputed
redactions of documents under Exemption 5 is granted, but denied
in ali other respects. The Government’s motion for summary judgment
is denied with respect to the DOJ-CRIM’s disputed redactions under
Exemption 5, but granted in all other respects. The Clerk is
directed to enter judgment accordingly and to close all pending
motions and to close this case.

SO ORDERED.

    

Dated: New York, New York
October 9, 2020 \ \ Co ‘
a9 . i
aes [Glcp
(“John G. Koeltl
United States District Judge

 

45

 
